                                          Case 3:18-mc-80132-JSC Document 73 Filed 12/17/19 Page 1 of 1




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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                              NORTHERN DISTRICT OF CALIFORNIA

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                                  7      PALANTIR TECHNOLOGIES INC.,
                                                                                        Case No. 18-mc-80132-JSC (PJH)
                                  8                    Plaintiffs,

                                  9             v.                                      ORDER DENYING MOTION TO STAY
                                                                                        PENDING RESOLUTION OF RELIEF
                                  10     MARC L. ABRAMOWITZ,                            FROM NONDISPOSITIVE PRETRIAL
                                                                                        ORDER OF MAGISTRATE JUDGE
                                  11                   Defendant.
                                                                                        Re: Dkt. No. 71
                                  12
Northern District of California
 United States District Court




                                  13          The court is in receipt of defendant Marc Abramowitz’s administrative motion to
                                  14   stay Magistrate Judge Corley’s November 22, 2019 Order (Dkt. 66 and 67) granting
                                  15   plaintiff’s Title 28 U.S.C. § 1782 application for discovery pending resolution of
                                  16   defendant’s motion for relief from such order (Dkt. 70). Having DENIED defendant’s
                                  17   motion for relief (Dkt. 72), the court DENIES this motion as moot.
                                  18          IT IS SO ORDERED.
                                  19   Dated: December 17, 2019
                                  20                                                /s/ Phyllis J. Hamilton
                                                                                    PHYLLIS J. HAMILTON
                                  21                                                United States District Judge
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